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                               EXHIBIT 58




                               EXHIBIT 58



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From:            Sam Teller [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                 (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=3BBD889935194BESBF3603889339F2AE-SAM TELLER]
Sent:            7/17/2018 1:08:05 PM
To:              Juleanna Glover (juleanna@ridgelywalsh.com]
CC:              Sarah O'Brien [sobrien@tesla.com]
Subject:         Re: What's the full story behind Elon Musk's involvement with the Thai cave rescue effort? - Quora



He needs a social media manager

On Jul 17, 2018, at 12: 11 PM, Juleanna Glover <juleanna(mridgelywalsh.com> wrote:

           But the piece says he needs new PR people ... ? tltl

           RidgelyWalsh.com
           202.288.2076


           On Jul 17, 2018, at 3:09 PM, Sarah O'Brien <sobrien@tesla.com> wrote:

                  This is brilliant.

                           On Jul 17, 2018, at 12:03 PM, Sam Teller <steller@tesla.com>
                           wrote:

                           This is perfect. Once he gets his note out there this would be a great thing to
                           share. Thanks for sending.

                           On Jul 17, 2018, at 11:07 AM, Juleanna Glover <juleanna(iv.ridgelvwalsh.com>
                           wrote:


                                    https://W\vw.guora.com/Whats-the-full-storv-behind-Elon-
                                    Musks-involvement-with-the-Thai-cave-rescue-effort


                                    What's the full story
                                    behind Elon Musk's
                                    involvement with the
                                    Thai cave rescue effort?
                                    - Quora
                                    As is often the case, there's a nuanced story with
                                    multiple morals here -          one that most news
                                    outlets have, for whatever reason, failed to tell.
                                    Let's start with the common narrative, which I think
                                    is fairly represented in this tweet (chosen randomly
                                    among hundreds like it):



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                      Very disappointed in Ci:f)elonmusk during this Thai
                      episode. Jumped on a PR opportunity, throws his
                      expensive toy out the pram when told it *so
                      obviously* wouldn't work and now disrespecting
                      heroes involved who clearly did a super human
                      feat in rescuing boys.

                              rich fitzmaurice (@FitzmauriceRich) 8:27J-\fvl
                      -Jul 16, 2018

                     We have a few inter-related claims here:

                     1.                  That Musk's involvement was primarily
                     about PR.

                     2.                  That his "expensive toy" was of no value to
                     rescue efforts.

                     3.                  That he was disrespectful of rescuers in the
                    plural.

                    And then, of course, we have Musk's already-
                    infamous "pedo guy" dig.

                    We'll take each of those in turn, using context to
                    determine how fair or unfair each claim might be.



                    #1: The massive PR stunt.

                    This criticism came in three somewhat
                    contradictory flavors. Some blamed Musk for
                    making too much of his efforts, some blamed him
                    for not making a different contribution, and some
                    blamed him for not solving totally unrelated
                    problems.
                    To give a few representative examples:

                     Unless there's an opportunity for him to showoff
                     the cool technologies SpaceX can build - like the
                     "kid-sized" submarine for cave rescue - I doubt

                     he'll do anything about the kids at the bordeJ-J

                    -        Vivianne Castillo (@vcastillo630)} :33 PVl -
                     JuJ8.)01_8

                    ll'_~_-,_ §_ ._,1_
                                                                                        Exhibit 58
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                    So an engineer hasn't used his free time to solve a
                    border-control problem that's outlasted every
                    elected politician and subject-matter expert that's
                    ever been paid to figure it out? Time for the tar and
                    feathers, I guess.

                    More to the point, though, one does wonder why
                    Musk was ever vocal about this particular issue in
                    the first place?

                    Well, as it turns out, we know exactly why.

                    I suspect that the Thai govt has this under control,
                    but I'm happy to help if there is a way to do so

                    - Elon Musk (@elonmusk) 10:02 Afvl - Jul 4,
                    2018

                    Note the date. The boys went missing on June 23rd.
                    It had been a national news issue for well over a
                    week at that point -   i.e., just long enough for
                    engineering types to begin wondering if perhaps
                    they could do something to help.

                    As for why Musk thought that open conversations
                    on Twitter were a positive means to that end?

                    It's open so that others who are closer to the
                    problem can consider this as one possible solution

                    -Elon Musk (@elonmusk) 6:04 PI\-1 - Jul 6. 20! 8

                    But surely he could do more than just facilitate
                    dialogue on social media?



                    So, in sum, a wealthy problem-solver with a long
                    history of responding to charity requests on Twitter
                    is asked to see what he can do to help. He agrees,
                    opens dialogue for ideas, takes them to the on-the-
                    ground experts for feedback, then sends some of his
                    best engineers to work pro bono on practical
                    mechanics.

                    And this is a bad thing ... ?




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                                                                            PageTESLA00
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                    #2: The expensive toy.

                    From his first announcement that his team was
                    working on a miniature submarine to help the
                    divers, Twitter was quick to criticize.
                    I studied engineering. Anyone who's known to
                    have a basic knowledge of geography and
                    engineering know that Elon Musk's "Escape Pod
                    Submarine" is not helpful at this present situation.
                    Still he played along, trying to seek global
                    attention. (2l1elonmusk you're
                    wrong! #ThaiCaveResue
                    -Vishnu Narayanan (@Narayanan VI) 7:02 ;\\J -
                    Jul. 10, 20 l 8
                    Of course, one could point out that SpaceX and
                    Boring Co. engineers had also "studied
                    engineering" at some point in their careers - being
                    that many of them are literal rocket scientists and all
                    (not to mention their knowledge advantage re: the
                    specific cave system in question). But why let that
                    obvious truth get in the way of cheap criticism for
                    some sweet, sweet internet karma?
                    Sadder yet, this skepticism wasn't limited to
                    internet trolls.

                    The former Thai provincial governor (described
                    inaccurately as "rescue chief') is not the subject
                    matter expert. That would be Dick Stanton, who
                    co-led the dive rescue team. This is our direct
                    correspondence: pic.tvvitter. com/dmC913 iiZR

                    -Elon Musk (@elonmusk) !0:03 AM- Jul 10 .
                    2018
                    Note that last sentence:
                    {fit isn 't needed or won 't help, that would be great
                    to know. Otherwise, it would be very helpful to
                    have as much design direction as possible.

                    Clearly the words of an egomaniac dedicated to
                    inserting himself into a process where he was
                    neither invited nor desired.


                                                                              Exhibit 58
                                                                              PageTESLA001564
                                                                                    896
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                    Anyway, to expand a bit more on the details here:

                    •       Narongsak Osotthanakorn, the provincial
                    governor quoted by BBC, went on to say: "Even
                    though their equipment is technologically
                    sophisticated, it doesn't fit with our mission to go in
                    the cave." In other words, the problem wasn't that
                    the sub was useless. It was that they'd already come
                    up with an alternate plan before the sub arrived.
                    (Note: Narongsak was actually transitioning out as
                    governor. He just stayed on as the political head of
                    the rescue team until it was completed.)

                    •      From the description of the rescue efforts
                    (which had to be expedited because of a lull in the
                    rain before the cave flooded again), the sub still
                    could have been useful. At the very least, it could
                    have replaced the need for the stretcher and pulley
                    system used in the more open areas. It just arrived
                    too late to make it into the planning process.
                    •      Some suggested that the length of the sub
                    might have kept it from navigating some of the
                    cave's tight comers. But you know who else
                    thought of this? Musk and his engineers. Hence
                    why they sent an inflatable version built to the same
                    dimensions to test it without the risk of blocking the
                    passage.

                    •      You know who was excited about the sub?
                    The Thai Navy. Musk even loaned out his engineers
                    to teach them how to use it for future missions.
                    Glad to hear that. Engineering team also getting
                    feedback from the British dive team on how to
                    improve the design for future applications.

                    -Elon Musk (@elonmusk) ! 1:43 P?\,'f - Jul ii
                    2018

                    So, again, we have a wealth of condemnation and
                    ridicule directed at Musk for what exactly? For
                    collaborating with the dive team to come up with
                    something that, at worst, would add to their toolbox
                   for other rescue missions?


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                    This reaction has shaken my opinion of many
                    people. We were asked to create a backup option
                    & worked hard to do so. Checked with dive team
                    many times to confinn it was worthwhile. Now it's
                    there for anyone who needs it in future.
                    Something' s messed up if this is not a good thing.

                    -Elon Musk (@elonmusk)           i:L:.7.9. A-.M. .:~Jv.LJ.L
                    2018

                    Something' s messed up indeed.



                    #3: Disrespecting the heroes.
                    As everyone knows, Musk's tweet history is littered
                    with examples of him taking credit at the expense of
                    those actually "in the arena".

                    Thanks, but we've not done anything useful yet. It
                    is all other people.

                    -Elon Musk (@elonmusk) 7: 16 J>J\,,,f - Jul 8, 2018

                    Ok, so maybe not. But what about all those nasty
                    things he said about the divers? You know, the ones
                    he couldn't speak well of on account of his seething
                    bitterness and jealousy?

                    Extremely talented dive team. Makes sense given
                    monsoon. Godspeed.

                    -   Elon Musk (@elonmusk) 1:48 AM - Jul 8
                    20_]8

                    He also went out of his way to give three separate
                    shout-outs to the pump and generator teams                    as
                    self-obsessed types do, I guess.



                    #4: The final straw.

                    Thus far, Musk has come out pretty well. But that's
                    about to get complicated.

                    To set context, Vern Unsworth is a retired British
                    expat who's been living in Chiang Rai. And it so
                    happens that he'd been exploring the particular cave



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                    system where the boys went missing for some six
                    years prior. This let him predict with fairly close
                    accuracy where the lost party would be found. He
                    was also instrumental in bringing in the overseas
                    caving/diving experts.

                    This past Friday, after the rescue was complete and
                    those involved were shifting into debrief mode,
                    Unsworth gave an interview, a clip of which went
                    viral.

                    Cave rescuer on Musk: "It was a PR stunt. It had
                    no chance of working."

                    -   Quoth the Raven (@QTRResearch) 7:33 Pl\{ -
                    Jul 13, 2018

                    As to why Unsworth chose to throw scorn at
                    Musk's motives, only he can say. Perhaps he was
                    simply riding the false narrative supported by so
                    many others.

                    All we do know is what he said- which, at best,
                    was rather uncharitable.

                    Musk didn't take it well.



                    Yikes.

                   Now, in Musk's (very) limited defense, the
                    pedophile accusation wasn't quite random. While
                    Thailand has a reputation for sex tourism in general
                    (particularly marketed towards single European
                    pensioners), Chiang Rai itself is a known hot-spot
                   for "sex trafficking and child prostitution".

                   But does this trivia make it likely that Unsworth
                    himself ever indulged in the local trade? Of course
                    not. Unless Musk had some private information, it
                    seems that he was seeing red and just grabbed at a
                    convenient stereotype.

                    Gross as that tactic is, it suggests a deeper
                    question: what drove a well-respected public.figure
                    to make such an extraordinarily negative claim?


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                    Without attempting to exonerate him, I think that's
                    worth getting into briefly.



                    Musk & The Criticism Machine

                    For all Donald Trump's complaints about the "fake
                    news" media conspiracies against him, Elon Musk
                    has by far the more legitimate claim. Apart from
                    Obama and Clinton, I'm not sure any other public
                    figure has been the victim of such a relentless wave
                    of vicious, unfounded criticism in the social media
                    era.

                    The tweets in the early sections barely do it justice.
                    While I'm no blinders-wearing fanboy, I read a fair
                    amount of articles about Musk and his companies. I
                    think what they do is important and generally
                    worthy of regular coverage. But what they don't
                    deserve is the tone of their regular coverage.

                    This deep-dive gives the sense: Elon Tvfusk vs. Short
                    sellers. In a nutshell, a non-trivial group of people
                    (in number, funds, and collective influence) have
                    been crusading against Musk's success for a long,
                    long time. The net result is that it's weirdly difficult
                    to get a balanced view of the man and his work.
                    Most pieces are written by either uncritical
                    supporters or those eager to feed the short/bear
                    narrative (for whatever personal motivations).

                    While there are exceptions to the rule, the average
                    piece looks something like this: Just How J'vfanv
                    Dimensions of Chess In Elon \Jusk P1aving?

                    To save you the read (and to prevent them from
                    gaining from your click), I'll sum up their thesis:
                    Elon Musk called Unsworth a pedophile to distract
                    the world from the recent revelations that he's made
                    public donations to the GOP.

                    Well, about that:

                    •       Those donations were small(< $40,000) in
                    relative terms.


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                     •      He gives often and in moderate amounts \Q
                     both sides.

                     •      These amounts are dwarfed by his donations
                     to issue-based causes (like his recent $6m give to a
                     climate change fund).

                     •      None of this has ever been a secret, and isn't
                     something he's been uncomfortable discussing.

                    Being honest, giving token amounts to various
                    political groups is the cost of doing business. This
                    often includes giving to those you disagree with
                    ideologically. I'm resolutely against the current
                    administration (and many GOP senators), but I'd do
                    the same in his shoes. Most would, with clean
                    consciences.

                    So why write an article about it as if it were news?
                    I'll leave that to the reader to ponder.

                    This kind of sustained siege against one's character
                    and motives has a predictable effect on people
                    (remember Obama's before/after photos?),
                    especially when the victim sees few journalists
                    interested in stepping in to tell the full story in a
                    way that might slow the deluge.

                    As per a recent interview with Bloomberg, Musk is
                    aware that this is making him prickly.

                     I never launched an attack on anyone who did not
                     attack me first. So the question is: If somebody
                     attacks you on Twitter, should you say nothing?
                    Probably the answer in some cases is yes, I should
                     say nothing. In fact, most of the time I do say
                    nothing. I should probably say nothing more often.

                    I have made the mistaken assumption-and I will
                     attempt to be better at this-of thinking that
                    because somebody is on Twitter and is attacking
                    me that it is open season. And that is my mistake. I
                    will correct it.

                    He may yet correct it. And perhaps his failing this
                    week will encourage him to redouble his efforts.


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                     Personally, I hope he hires someone to run better
                    PR for him. Instead of the fact-checking service he
                     proposed last month, perhaps he just needs a
                     contractor to deconstruct stories about him and his
                     companies on his behalf.

                    (While I see why Musk often responds himself, I
                    think some remove would be advantageous for him.
                    Not only would it add a layer of objectivity, it
                    would allow the other to highlight Musk's positives
                    in ways he could never do himself with any
                    propriety. For example, did you know that he
                    made two separate commitments to help the people
                    of Flint while this other narrative was going on? Or
                    that he donated a batch ofRadioFlyer Teslas to
                    children's hospitals across Europe? I'm guessing
                    you didn't, and I'm guessing I know why.)

                    Final Thoughts
                    Musk's PR needs aside, I think we're right to
                    condemn him for words to Unsworth (a provoked
                    but disproportionate response). Working under the
                    assumption that Unsworth is innocent of the charge,
                    he should sue for libel. If he can't afford to, he
                    should be helped. Or Musk should reach out
                    proactively to donate to a charity ofUnsworth's
                    choice to begin his amends.

                    That notwithstanding, I have a hard time identifying
                    with the cries of villainy. Musk made a terrible
                    judgment call, sure. But to over-focus on that is to
                    excuse ourselves at the same time. The waves of
                    shoddy journalism exacerbating his behavior are
                    coming from somewhere, supported by many a
                    someone's clicks. And as the old saw goes, no
                    raindrop likes to see itself as responsible for the
                    flood.

                    Overall, I think what Musks wants most is fairness.
                    That doesn't strike me as unreasonable. There's a
                    balance point between hero-worship and




                                                                           Exhibit 58
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                    demonization, and we ought to do a better job of
                    demanding that our press aim for it.


                    RidgelyWalsh.com
                    202.288.2076




                                                                       Exhibit 58
                                                                       PageTESLA001571
                                                                             903
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To:      Taylor Wilson[twilson@linwoodlaw.com]
From:    Vernon Unsworth
Sent:    Fri 9/27/2019 3:25:50 AM
Subject: Fw: Draft agency agreement
V Unsworth Tune Asia Agency draft.docx

  --- Forward ed m essage----
  From: Vern on Unsworth <vernon_unsworth@yahoo.co.uk>
  To: Az.iz. Hoque <az.iz.hoque@taxassist.co.uk>
  Sent: Wednesday, 21 November 2018, 05:48:12 GMT
  Subject: Fw: Draft agency agreement




----- Forwarded Message ----
From: Charles Law <charles@clml-law.co.uk>
To: vernon_unsworth@ yahoo.co.uk
Cc: 'William Robinson' <willrobinson001@outlook.com>
Sent: Tuesday, 20 November 2018, 9:38
Subject: Draft agency agreement

  Dear Vernon

  I represent Will Robinson and his companies and I am very pleased to attach a draft agency agreement for your review_
  It is recommended that you get professional advice on this draft document. Please ask me if you need suggestions for
  lawyers practising in this field.

  I look forward to hearing from you.

  Kind regards

  Charles Law
  Charles Law Media Legal Limited
  07733 307354




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                                                 AGENCY AGREEMENT


                                                                                  DATE                            2018

     FROM:         Tune Asia Ltd having its trading address at Room 1705/ 1706, 17th floor President Commercial
                   Centre, 608 Natbao Road, Mongkok, Hong Kong (Company no 2219984)



     TO:           Vernon Unsworth ofr



    Dear Vernon,

    EXCLUSIVE AGENCY

     We are writing to confinn the tenns of the agreement which has been reached between us with regard to our
     engagement as your exclusive agent on the following terms:

     1          APPOI TMENT

     1.1        You hereby appoint us to act as your sole and exclusive agent in relation to all of your activities in
                all aspects of media industries (including but not limited to entenainmenl, documentary forms)
                throughout the world ("the Activities") including, without limitation, the following:-

     1.1.1      the creation of litcrruy and other works capable of being copyright and the exploitation of those
                works via any medium now known or yet to be invented;

     1. J.2     the recording (including the performance, production, engineering, mixing and remixing) of works
                for the use and commercial release and/or exploitation of those recordings in the fomJ of records,
                audio visual devices or otherwise;

     1.1.4      the recording of perfom,ances and all appearances in any media on film or other audio visual
                devices;

     1.1.5      merchandising, sponsorship and endorsements;

     1. 1.6     literary and pictorial publications and products in other media relating to your career and exploits
                and all facets of your life-story;

     1.1.7      live performances by you alone or with others on stage before a live audience or in a studio for
                broadcast, diffusion, transmission or other dissemination by any means now known or yet to be
                invented.

           l! is agreed that we may appoint a specialist agent in a particular field of media and that agent will be paid
           from our commission up to a maximum rate of ten per cent (l 0%). The identity of such person will be pre-
           agreed by you as applicable.

     1.2        We shall have the sole and exclusive right to negotiate all contracts and arrangements for you in
                respect of the Activities but we shall not enter into any contracts for you except "one-off type
                arrangements and "one-off live television or other appearances which you have previously approved
                in principle. We shall obtain your approval over any commercial endorsements.




                                                                                                                 Exhibit 59
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     1.3      We shall provide the personal management services of Will Robinson ("the Keyman") and
              you shall be entitled to tem1inatc the Tenn of this Agreement by notice in writing to us in the
              event that we are unable to provide the Keyman's services during the Term for more than
              thirty (30) consecutive days (or periods aggregating to more than sixty (60) days in any
              twelve ( 12) month period) excluding periods for sickness and reasonable holiday.

     1.4      We shall be entitled from time to time to delegate our administrative responsibilities under
              this Agreement subject to the Keyman retaining primary responsibility in relation to the
              Activities and properly supervising our delegate.

     2        TERM

              The duration of our appointment (the "Tem1") shall be for three (3) years from the date of
              full execution of this Agreement and will then continue unless and until terminated 011 al
              least twelve (12) months' written notice served by either of us. Such a notice may not be
              served until the fourth an niversary of the start of the Tenn.

    3         OUR OBLlGATIO S

              lt is agreed that during the Tem1:

     3. J     we shall act as your personal agen t and advisers and shall in good faith use all our best
              commercial endeavours to enhance and develop your career in regard to the Activities in
              accordance with your wishes and obtain such work for you as is suitable to your talents aud
              capabilities.

     3.2      we will provide our services under this Agreement in good faith as reasonably required in
              order to provide you with effective management services.

     4        OUR COMMISSION

              1n consideration of our services under tJ1is Agreement, you agree to pay us commission on
              your income arising during and after the Term calculated as follows:

    4. 1      We shall be entitled to commission at the rate of fifteen per cent (15%) calculated on your
              Gross Income arising from the following:

     4. 1.J   all recordings of your performances recorded prior to or during the Tenn and first
              commercially exploited prior or during the Tem1 or within twelve (12) months following the
              expirat.ion of the Te1m;

     4. 1.2   all works described in Clause L. 1. 1 above to the extent created by you prior to or during the
              Term and first recorded to commercial quality prior to or during the Term or wiiliin twelve
              (12) months following the expiry of the Tcm1;

     4. 1.3   a ll income collected on your behalf by collection agencies in relation to the Activities before
              or during the Term where such income is not oilienvise referred to in this Agreement;

     4. 1.4   any other Activities undertaken prior to or during the Tcm1; and




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     4.1.5   any other Activities including but not limited to those described in Clause 1.1.7 above
             undertaken during the Tenn or within six (6) months from the expiration of the Tenn if
             procured or substantially negotiated by us.

     4.3     Notwithstanding anything to the contrary contained in this Agreement it is agreed that we
             shall not be entitled to commission:

     4.4.1   any monies specifically advanced to you and utilised by you for the payment of film or video
             production costs;

     4.4.2   bad debts;

     4.4.3   per diems.

     4.5     Gross Income, for the purposes of this Clause 4, shall mean one hundred per cent (100%) of
             (and without deduction or set-off except as expressly pcnnittcd by this Agreement) all gross
             monies (exclusive of VAT or any similar taxes), advances, fees, royalties or other benefits in
             lieu of monies earned (but not gifts and presentations) during and after the Te1m by you
             including, for the avoidance of doubt, all monies arising from the breach or non-performance
             by a third party of any contract relating to the Activities or as the result of the infringement
             by any third party of the copyright in any recordings or compositions to which we arc
             entitled lo commission under this Agreement (save for royalties credited against advances in
             respect of which we have already received commission). A royalty credit to your account in
             respect of the Activities shall be treated as Gross Income Provided That we shall not be able
             to receive any commission on royalties indicated to you which recoup an advance OD which
             we have already received a commissioll.

     5       ACCOUNTING

     5. 1    You shall appoint (subject to our approval not to be unreasonably withheld or delayed) an
             English firm of chartered or certified accountants to act for and on your behalf ("the
             Accountant"). You will use reasonable endeavours to procure that the Accountant pay all
             income under this Agreement into the client account of that firm and disburse all that income
             in accordance with this Agreement and acknowledge that, in the event of doubt as to how
             payments should be made, the Accountant shall (before disbursing the disputed sums) obtain
             the wrillen consent of both you and us (neither of whom shall unreasonably withhold consent
             or delay in replying).

     5.2     Promptly upon the Accountant's appointment you and/or we shall direct all third parties to
             make payment to the Accountant.

     5.3     Until the appointment of the Accountant, the following shall apply:

             (a)   we shall keep books and reasonably detailed records of accounts;

             (b)   all monies shall instead be paid directly into one separate bank account opened by you
                   and us in your name upon which all payments have Lo be authorised by both our
                   representative and by you or a representative appointed by you. Neither party shall
                   unreasonably withhold or delay authorisation so that each party shall be entitled
                   promptly lo payment of its share of income and reimbursement (where applicable) of
                   expenses in accordance with the tenns of this Agreement;


                                                                                                      Page 3




                                                                                                                Exhibit 59
                                                                                                                Page 908     VU03432
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           (c)   any payment received on your behalf in excess of five thousand pounds (£ 5,000.00)
                 shall be promptly paid to you net of our commission;

           (d)   both parties shal l be entitled regularly to receive bank statements in respect of the
                 account;

           (e)   you shall have the right, at your sole cost and expense, only once per calendar year, at
                 our place of business, during our normal business hours, after no less than thirty (30)
                 days' written notice, lo audit our books and records regarding sums due to you only.
                 We shall make good upon demand any underpayment and if such underpayment
                 exceeds at least ten per cent(] 0%) of total monies under inspection and five thousand
                 pounds (£5,000), we shall bear the costs of audit revealing the underpayment.

     5.4   In the event of any monies the subject of this Agreement coming into the possession or
           control of either you or us such party shall immediately pay such monies to the Accountant
           who shall hold and deal with such monies strictly in accordance with Clause 5.1 above, or
           into the joint account in accordance with Clause 5.3 above (as the case may be).

     5.5   You agree and you shall irrevocably direct the Accountant to pay or procure payment to us
           within fourteen ( 14) days of each receipt of monies the subject of this Agreement in an
           amount as will cause us to be reimbursed or paid our commission and expenses and
           (provided sufficient income has been received) sufficient monies so that we may hold a sum
           from time to time not exceeding five hundred pounds (£500) (or such greater s um as you and
           we may from time to time agree) which may be retained by us to be used to meet future
           expenses save that upon the expiry or earlier tennination of the Tenn of this Agreement the
           remaining balance of any retention shall be accounted for and paid to you within thirty (30)
           days after that date.

     5.6   During the Term of this Agreement, notwithstanding anything to the contrary contained in
           this Agreement, in relation to live and touring work undertaken by you all monies earned
           shall in the first instance be administered by us and any and all monies received or credited
           (including tour support contributions) and all payments out operated by us. At the end of the
           tour or series of live engagements (or otherwise at reasonable intervals agreed by you and
           us) we will prepare or procure the preparation of detailed accounts relating to the tour and
           submit them to both you and the Accountant (when appointed) and pay any excess monies
           earned from the tour to the Accountant. You will have the same right of audit in respect of
           those monies as are set out in sub-clause 5.3(e) above.

     5.7   All payments to us under this Agreement are exclusive of value added tax which shall be
           paid by you upon receipt of a VAT invoice from us. In the case where the appointment of the
           Accountant is delayed, we shall arrange for your VAT registration and will advise you if
           deregistration is appropriate.

     5.8   If you receive a payment from an insurer following a claim (excluding a claim in respect of
           personal injury) connected with any of the Activities such payment shall be treated as tour
           income and shall be subject to our commission (provided that we shall not thereby receive
           Olu commission twice). If any merchandising repayment is covered by insurance the
           insurance payment will be deemed subject to our commission unless we have already
           received our commission on the advance and have not repaid the same. The premium for any



                                                                                                  Page 4




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            such insurance shall be deducted from any settlement payment prior to calculation of our
            comm1ss1on.

     5.9    Following the expiry or earlier tem1ination of the Tem1 of this Agreement, you agree to
            complete all reasonably necessary documentation and use your reasonable endeavours to
            procure that all relevant third parties account to us directly for our commission at the same
            time as they account to you in respect of such income and, if you receive any such income
            prior to the deduction of our commission, you will pay the commission to us within fourteen
            ( 14) days of your receipt of the same. You shall use your reasonable endeavours to ensure
            that we receive copies of all royalty statements that you receive after the Term to the extent
            the same relate to earnings commissionable under this Agreement. We shall have
            reciprocally, the same rights of audit as apply under sub-clause 5.3(e) above.

     6      EXPENSES

     6. 1   We shall be responsible for payment of our own office and business expenses save that we
            shall be entitled to charge you with the actual cost of all international telephone calls, mobile
            telephone calls, international faxes and courier charges which are specifically attributable to
            our management of you under this Agreement.

     6.2    We shall be entitled to incur reasonable expenses on your behalf on a bona fide and proper
            basis in connection with the perfomiance of our obligations under this Agreement which you
            shall reimburse to us on demand but only from income earned by you from the entertainment
            industry. Each item of expenses or connected items of expense of more than five hundred
            pounds (£500) shall be subject to your prior approval. We shall provide you with copies of
            all receipts and vouchers in relation to the expenses on a monthly basis.

     6.3    lf we incur expenses on behalf of you and other artists then we shall pro-rate the amount
            charged to your account accordingly.

     7      YOUR WARRANTIES

            You hereby warrant and represent that:

     7. I   during the Tenn you will not engage any other person or finn to act as your representative,
            agent or manager;

     7 .2   you are free and able to enter into and perform your obligations under this Agreement and
            that you have disclosed to us all arrangements and agreements that you have signed or
            entered into with any other person firm or company whereby such person fom or company
            might act for you in any capacity similar to our appointment as manager under this
            Agreement and/or which might affect your freedom to perfonu engagements arranged by us
            under this Agreement;

     7.3    you will not negotiate personally agreements or engagements without our prior consent not
            to be unreasonably withheld or delayed;

     7.4    we have advised you to take independent legal advice from a lawyer specialising m
            agreements of this nature on the provisions of this Agreement;




                                                                                                      Page 5




                                                                                                                Exhibit 59
                                                                                                                Page 910     VU03434
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     7.5      you will be responsible for your own Value Added Tax, National Insurance and personal tax
              liabilities.

     8        TERMJNA TION

     8.1      You shall be entitled to tem1i11ate the Tenn of this Agreement by written notice if:

              (a)   al any time during the Tenn we are in material breach of our obligations under this
                    Agreement AND you have given us forty fi ve (45) days' written notice requiring us to
                    remedy the breach AND we failed to do so; or

              (b)   we enter into and remain in compulsory liquidation or voluntary liquidation (except for
                    the purpose of corporate reconstruction for a period in excess of forty five (45) days or
                    enter into a composition with our creditors or appoint a receiver ove r all or paJt of our
                    assets who is not discharged within forty five (45) days.

     8.2      If at any time during the Te1m you are in material breach of your obligations under this
              Agreement we shall be entitled to give you forty five (45) days written notice requiring you
              to remedy the breach and in the event that you fail to do so we shall be entitled to terminate
              this Agreement by notice in writing and we shall be entitled to terminate this Agreement
              immediately by notice in writing in the event that you arc declared bankrupt.

    9         ASSIGNMENT

              We shall be entitled to assign the benefit of this Agreement to a company in which we are
              the majority shareholder but the assignment will not be effective unless and until tl1e
              assignee covenants direct with you to perfonn our obligations hereunder.

     10       INDEMNITY

              It is agreed that each party shall indemnify tl1e other from and against all costs (including
              reasonable legal costs) and damages incurred or awarded and paid by one party in respect of
              or arising out of any breach or non-performance by the other party of all or any of the
              undertakings, representations, warranties, obligations and agreements contained in this
              Agreement Provided same arc fully adjudicated and Provided That no party shall agree to
              settle a claim or make an y payment without the other party's prior writlen consent (not to be
              unreasonably w itl1held or delayed) unless pursuant to the judgment of a court of competent
              jurisdiction.

     11       MISCELLANEOUS

     J I. I   No waiver or affirmation of any breach o f or non-compliance with any tenn of this
              Agreement by either party shall be deemed to be a waiver or affimiation of any preceding or
              succeeding breach of or non-compliance with the same or any other term.

     I 1.2    Any notice required under this Agreement shall be in writing and shall be sent either by first
              class registered post or by hand to th e last known address of the relevant party, and shall be
              deemed served two (2) working days after posting or one (I) working day after delivery by
              hand.

     11.3     This Agreement shall not be deemed to give rise to any partnership between us.


                                                                                                       Page 6




                                                                                                                 Exhibit 59
                                                                                                                 Page 911     VU03435
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     11.4    The panics do not intend that any tcnn of this Agreement shall be enforceable solely by
             vi11ue of the Contracts (Rights of Third Parties) Act 1999 by any person who is not a party 10
             this Agreement.

     l 1.5   It is agreed between us that this Agreement shall be subject to English Law and any
             proceedings or disputes arising out of this Agreement shall be referred to the non-exclusive
             jurisdiction of the English courts.

     11.6    Any approval req uired 10 be given by you under this Agreement shall not be unreasonably
             withheld or delayed and shall be deemed to have been given unless you shall have notified
             us to the contrary within five (5) business days of our request for such approval.

     Would you please sign below to indicate your agreement with and acceptance of the above.

     Yours sincerely


    For and on behalfof
     Tune Asia Limited

    I HA VE TAKEN fNDEPENDENT LEGAL ADVICE AND HA VE READ AND UNDERSTOOD
    THE ABOVE AGREEMENT AND 1T ACCURATELY REFLECTS THE AGREEMENT
    REACHED BETWEEN THE PARTIES

     Read and Agreed:



     Vernon Unsworth




                                                                                                    Page7




                                                                                                              Exhibit 59
                                                                                                              Page 912     VU03436
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                               EXHIBIT 60




                               EXHIBIT 60



                                                                     Exhibit 60
                                                                     Page 913
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To:        Kimmy Hart Bennett[khart@linwoodlaw.com]
From:      Elon M
Sent:      Mon 8/6/2018 2:04:31 PM
Subject:   Automatic reply: Defamation of Vernon Unsworth

 Due to a substantial increase in the volume of unsolicited email, my address has changed. Please contact
 ElonMuskOffice@SpaceX.com to reach me. My apologies for the inconvenience.

 -Elon




                                                                                                        Exhibit 60
                                                                                                        Page 914     VU00731
      Case 2:18-cv-08048-SVW-JC Document 82 Filed 10/07/19 Page 24 of 34 Page ID #:2128

To:       ElonMuskOffice@SpaceX .com[ElonMuskOffice@SpaceX.com]
Cc:       Mark Stephens, CBE[Mark.Stephens@howardkennedy.com]; Lin Wood[lwood@linwoodlaw.com]
From:     Kimmy Hart Bennett
Sent:     Mon 8/6/2018 2: 13 :48 PM
Subject: Defamation of Vernon Unsworth
2018-08-06 Wood letter to Musk re Defamation of Vernon Unsworth .pdf

 Good morning,

 Please see the attached correspondence being sent on behalf of L. Lin Wood.

 Thank you,

 Kimmy Hart Bennett
 L. Lin Wood, P.C.
 1180 West Peachtree Street, Suite 2400
 Atlanta, Georgia 30309
 P: (678) 365-4116
 F: (404) 506-9111




                                                                                                Exhibit 60
                                                                                                Page 915     VU00810
  Case 2:18-cv-08048-SVW-JC Document 82 Filed 10/07/19 Page 25 of 34 Page ID #:2129




            L. LIN WOO D , P.C.                                                                        L. LINWOOD
        -   - - - T R I AL LAW YERS -       --
                                                                                          Direct Dial: (404) 891-1406
                                                                                             lwood@linwoodlaw.com



                                                            August 6, 2018

            VIA FEDEX & ELECTRONIC MAIL

            Mr. Elon Musk
            10911 Chalon Road
            Los Angeles, CA 90077
            elon.musk@spacex.com

                    RE:      Defamation of Vernon Unsworth

            Dear Mr. Musk:

                    I have been retained by Vernon Unsworth to represent his interests in connection with the
            publication on your Twitter account of false and defamatory statements conveying that Mr.
            Unsworth is a pedophile. More specifically, you published through three different tweets to your
            twenty-two million followers that Mr. Unsworth engages in the sexual exploitation of Thai
            children, and you did so at a time when he was working to save the lives of twelve Thai children.
            You did so without any basis. According to a subsequent Twitter post, you did so out of anger.

                    I am in the process of preparing a civil complaint for libel against you. In an attempt to
            avoid litigation and to see the public record corrected, I invite you or your legal representatives to
            contact me.


                                                                      Sincerely,


                                                                        ~VutJ
                                                                      L. Lin Wood


            cc:     Mr. Vernon Unsworth
                    Mark Stephens, CBE, Howard Kennedy LLP




1180 West Peachtree Street, Suite 2400, Atlanta, GA 30309        P: 404-891-1402    F: 404-506-9111       www.linwoodJaw.com




                                                                                                               Exhibit 60
                                                                                                               Page 916     VU00811
  Case 2:18-cv-08048-SVW-JC Document 82 Filed 10/07/19 Page 26 of 34 Page ID #:2130

To:      elon.musk@spacex.com[ elon.musk@spacex.com]
Cc:       Lin Wood[lwood@linwoodlaw.com] ; Mark Stephens, CBE[Mark.Stephens@howardkennedy.com]
From:     Kimmy Hart Bennett
Sent:     Mon 8/6/2018 2:02 :59 PM
Subject: Defamation of Vernon Unsworth
2018-08-06 Wood letter to Musk re Defamation of Vernon Unsworth .pdf

 Good morning,

 Please see the attached correspondence being sent on behalf of L. Lin Wood.

 Thank you,

 Kimmy Hart Bennett
 L. Lin Wood, P.C.
 1180 West Peachtree Street, Suite 2400
 Atlanta, Georgia 30309
 P: (678) 365-4116
 F: (404) 506-9111




                                                                                                 Exhibit 60
                                                                                                 Page 917     VU00812
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            L. LIN WOO D , P.C.                                                                        L. LINWOOD
        -   - - - T R I AL LAW YERS -       --
                                                                                          Direct Dial: (404) 891-1406
                                                                                             lwood@linwoodlaw.com



                                                            August 6, 20 18

            VIA FEDEX & ELECTRONIC MAIL

            Mr. Elon Musk
            10911 Chalon Road
            Los Angeles, CA 90077
            elon.musk@spacex.com

                    RE:      Defamation of Vernon Unsworth

            Dear Mr. Musk:

                    I have been retained by Vernon Unsworth to represent his interests in connection with the
            publication on your Twitter account of false and defamatory statements conveying that Mr.
            Unsworth is a pedophile. More specifically, you published through three different tweets to your
            twenty-two million followers that Mr. Unsworth engages in the sexual exploitation of Thai
            children, and you did so at a time when he was working to save the lives of twelve Thai children.
            You did so without any basis. According to a subsequent Twitter post, you did so out of anger.

                    I am in the process of preparing a civil complaint for libel against you. In an attempt to
            avoid litigation and to see the public record corrected, I invite you or your legal representatives to
            contact me.


                                                                       Sincerely,


                                                                        ~VutJ
                                                                      L. Lin Wood


            cc:     Mr. Vernon Unsworth
                    Mark Stephens, CBE, Howard Kennedy LLP




1180 West Peachtree Street, Suite 2400, Atlanta, GA 30309        P: 404-891-1402    F: 404-506-9111       www.linwoodJaw.com




                                                                                                               Exhibit 60
                                                                                                               Page 918     VU00813
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                               EXHIBIT 61




                               EXHIBIT 61



                                                                     Exhibit 61
                                                                     Page 919
8/19/2019
       Case    (1) Elon Musk on Twitter: "@dtemkinDocument
              2:18-cv-08048-SVW-JC                This reaction has
                                                                 82shaken my opinion
                                                                      Filed          of many people.
                                                                              10/07/19       PageWe  29were
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                                            Tweet                                                                                      Search Twitter


          Home                        This Tweet is unavailable                                                                Relevant people

          Explore                                                                                                                        Elon Musk
                                             Elon Musk                                                                                   @elonmusk
                                             @elonmusk
      1
          Notifications             Replying to @dtemkin
                                                                                                                                         Dave Temkin
                                                                                                                                         @dtemkin
                                    This reaction has shaken my opinion of many people.                                                  Network enthusiast, V
          Messages                  We were asked to create a backup option & worked                                                     Systems Infrastructure
                                                                                                                                             in tech. Opinions
                                    hard to do so. Checked with dive team many times to                                                  are bug fixes and perf
          Bookmarks
                                    confirm it was worthwhile. Now it’s there for anyone                                                 improvements.


          Lists                     who needs it in future. Something’s messed up if this is
                                    not a good thing.                                                                          Trends for you

          Profile                   4:20 AM · Jul 11, 2018 · Twitter for iPhone                                                Trending in USA
                                                                                                                               Lauren Hashian
                                                                                                                               2,992 Tweets
          More                      5K Retweets       59.3K Likes

                                                                                                                                Celebrity
                                                                                                                                Dwayne Johnson marries
             Tweet
                                                                                                                                longtime girlfriend Lauren …
                                             Rogue WH Snr Advisor @RogueSNRadvisor · Jul 11, 2018
                                             Replying to @elonmusk and @dtemkin
                                                                                                                               Trending in USA
                                             Wahhhh the billionaires feelings are hurt
                                                                                                                               #RepublicansMakeMe
                                                  23                1             22                                           8,573 Tweets

                                             Bonnie Norman @bonnienorman · Jul 11, 2018                                        Trending in USA
                                             Replying to @elonmusk and @dtemkin                                                Seinfeld
                                             If only we could arrange the world by attitude, I'd know what areas to avoid.     Trending with: Friends or Sein
                                             :) We all choose how we see life & interpret others' actions. It's on them, not
                                             you.
                                                                                                                                Television
                                                                                                                                Friends or Seinfeld? Fans sig
                                             The pods you/team have now created will save future lives. A Plan B is
                                                                                                                                off on which show they pre
                                             always smart. Don't change.
                                                  4                 4             103

                                                                                                                               Trending in SC
                                             Erin Margaret Raven @ravenyoga · Jul 11, 2018
                                                                                                                               Antonio Brown
                                             Replying to @elonmusk and @dtemkin
                                                                                                                               27.8K Tweets
                                             I loved your idea to use the inflatable Tunnel!! Why not use that!? Is it not
                                             possible? Anything is possible! “Believe it and you will see it” - Wayne Dyer
                                                                                                                                NFL
                                                  1                                                                             Raiders GM wants to know
                                                                                                                                Antonio Brown is 'all in or a
                                             VICKI SALVADOR @VickiSalvador · Jul 11, 2018
                                             Replying to @elonmusk and @dtemkin
                                             Stop reading that garbage! Haters are gonna hate. What you did was a good         Trending in USA
                                             thing. You don’t owe anybody an explanation. Now let’s build some cars!           Hotline Miami
                                                  2                 5             43                                           6,254 Tweets

                                             1 more reply                                                                      Show more

                                             Star Trooper @JanCurt70219721 · Jul 11, 2018
                                             Replying to @elonmusk and @dtemkin                                                Terms    Privacy policy   Cookies
                                             You did great......some humans suck. Your kindness will not be forgotten.
                                                                                                                               More        © 2019 Twitter, Inc.
                                                                                  1

                                             Old Monk @PK_Behke · Jul 11, 2018
                                             Replying to @elonmusk and @dtemkin
                                             U have put your best foot forward, and the world acknowledges. No need to
                                             care for nincompoops..
                                             @ParthaRanjanDey
                                                                                  1

                                             Steve Giannakopoulos @stevengiann · Jul 11, 2018
                                             Replying to @elonmusk and @dtemkin
                                                                                                                               Exhibit 61
https://twitter.com/elonmusk/status/1016960469737693184?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetembed%7Ctwterm%5E101696046973769318… 1/3
                                                                                                                               Page 920
8/19/2019
       Case    (1) Elon Musk on Twitter: "@dtemkinDocument
              2:18-cv-08048-SVW-JC                This reaction has
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                                            Buddy basically only $tsla short sellers and oil industry supporters hate you
                                            for this. That’s how you know you did the right thing by helping out! Stay          Search Twitter
                                            determined on bettering our world!
                                                                               1
          Home
                                            Kim Carsons @torkoolguy · Jul 11, 2018
          Explore                           Replying to @elonmusk and @dtemkin
                                            I'm just jealous cuz Elon is rich :/
      1                                                                        1
          Notifications
                                            Lono @LonoSG · Jul 11, 2018
          Messages                          Replying to @elonmusk and @dtemkin
                                            99.99% of people sat on their ass and did nothing. @elonmusk used his
                                            own resources and money to help. 100% of the people that criticized him
          Bookmarks                         did absolutely nothing.
                                                                               3
          Lists
                                            Billy D @Ungraa3000 · Jul 11, 2018
                                            Replying to @elonmusk and @dtemkin
          Profile                           If elon musk invented a device to save people drowning the drowners'd opt
                                            out to be edgy and contrarian.

          More                                                                 1

                                            Ardentcritic @ardentcritic · Jul 11, 2018
             Tweet                          Replying to @elonmusk and @dtemkin
                                            A plan B is never a wasted plan.
                                            Even if it is never used. Even if you were never asked. The exercise will have
                                            moved our knowledge on a step.
                                                                               2

                                            Shuey Mirkin @Shuey_Mirkin · Jul 11, 2018
                                            Replying to @elonmusk and @dtemkin
                                            It’s like Confucius always said: haters gonna hate
                                                                               1

                                            Shary Nassimi @sharynassimi · Jul 11, 2018
                                            Replying to @elonmusk and @dtemkin
                                            Very dear Elon,
                                            I understand you. A sensitive superman. But you must grow a thicker skin
                                            and not allow people who envy you and smoke pot for a living to reach your
                                            core. You should only be vulnerable to your loved ones. You have so many
                                            people who back you. Revel in that.
                                                                               1




                                                                                                                             Exhibit 61
https://twitter.com/elonmusk/status/1016960469737693184?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetembed%7Ctwterm%5E101696046973769318… 2/3
                                                                                                                             Page 921
8/19/2019
       Case    (1) Elon Musk on Twitter: "@dtemkinDocument
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          Home

          Explore

      1
          Notifications

          Messages

          Bookmarks

          Lists

          Profile

          More


             Tweet




                                                                                                                    Exhibit 61
https://twitter.com/elonmusk/status/1016960469737693184?ref_src=twsrc%5Etfw%7Ctwcamp%5Etweetembed%7Ctwterm%5E101696046973769318… 3/3
                                                                                                                    Page 922
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                               EXHIBIT 62




                               EXHIBIT 62



                                                                     Exhibit 62
                                                                     Page 923
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   From:      steller@spacex.com
   Sent:      Sun 7/15/2018 12:14 PM (GMT-07:00)
   To:        Mark Juncosa
   Cc:
   Bee:
   Subject: Re: Status



   Exactly. And stuff like this morning makes it harder to recruit amazing people to come work for him.

   On Jul 15, 2018, at 1:47 PM, Mark Juncosa <Mark.Juncosa@spacex.com> wrote:

    For perspective, this is where I was last Tuesday ...




    From: Steve Davis
    Sent: Tuesday, July 10, 2018 3:37 PM
    To: Mark Juncosa
    Subject: RE: Status

    Is a fair point, but that's up to E!


    From: Mark Juncosa
    Sent: Tuesday, July 10, 2018 6:30 PM
    To: Steve Davis
    Subject: Re: Status

    Hey man, just for my perspective, do you think it will reflect well on Elon to tweet more pies of
    the team training with the sub, and then publicly give the kids the sub as a gift? There is a fair
    amount of negative press about how public Elon has been in his efforts to help the situation in
    Thailand. I think the cause was super worthy so I was happy that we supported, but I do worry
    a bit about the public perception stuff (mainly just worried that it makes engineers at our
    company lose confidence in Elon).

    Does that make any sense/am I just being crazy here?


    From: Steve Davis
    Sent: Tuesday, July 10, 2018 3:06:45 PM
    To: Elon Musk; Thailand
    Subject: RE: Status

          •    {A now smaller} SpaceX Team has training with their Seals at 9 am local (4 hours from now) -
              hope to get some pies of the training in action in case you want to tweet.
          •    Decals are in production for the Pod to prep it as a gift, including of their team logo and Thai
              flag - will see what looks cool of the prolific Bangkok decal industry


                                                                             _A@EmIBIT-3:.E_
                                                                             DeponentU        lier:
                                                                                                         Exhibit 62
                                                                             o'if~Rpt~                            SPACEX00000702
                                                                              WWW.DEPOBOOKPRODUCTS.COM   Page 924
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        •   10 PowerWalls will go to local hospital; remainder of tools shipping home

    Anything else we should be doing?




    -----Origi na I Message-----
    From: Elon Musk (mailto:erm@tesla.com)
    Sent: Tuesday, July 10, 2018 6:03 PM
    To: Thailand
    Subject: Status

    Anyone still on the ground there?
    Where is the pod?




                                                                                        Exhibit 62
                                                                                        Page 925 SPACEX00000703
